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 1                                                            THE HONORABLE JAMES L. ROBART

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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                           )
 9                                                       )   Case No. 2:12-cv-01282-JLR
                                    Plaintiff,           )
10                                                       )   JOINT MOTION TO APPROVE
                    v.                                   )   COMPLIANCE AGREEMENT
11                                                       )
     CITY OF SEATTLE,                                    )   NOTE ON MOTION
12                                                       )   CALENDAR: March 28, 2023
                                    Defendant.           )
13                                                       )

14          The City of Seattle and the United States of America jointly move for entry of an Order of

15   Resolution (the Order) and approval of the Agreement on Sustained Compliance (the “Compliance

16   Agreement”). As described in the attached memoranda, the Parties agree that the City has

17   demonstrated sustained compliance with the requirements of the Consent Decree related to use-

18   of-force (exception noted herein), crisis intervention, stops and detentions, bias-free policing,

19   supervision, and the Office of Police Accountability. The Parties also recognize that important

20   work remains in two areas: officers’ use of force in crowd management situations, including how the

21   City and Seattle Police Department (SPD) are addressing uses of force that occurred during the 2020

22   protests and accountability, including the City’s efforts to alleviate concerns identified by the Court

23   in its May 2019 Order. Accordingly, the proposed Order and Compliance Agreement would replace


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 1   the Consent Decree in order to focus the Parties’ efforts on these key areas in which the City is

 2   still completing its work.

 3          In addressing accountability, the Monitor will conduct a capacity assessment of the City’s

 4   police accountability system, which includes the Office of Inspector General for Public Safety

 5   (OIG), the Office of Police Accountability (OPA), and the Community Police Commission

 6   (CPC). In addition, under the Compliance Agreement, the OIG will take on new, substantial

 7   obligations as an important step toward assuming the role of the Monitor. It will conduct a Use-

 8   of-Force Assessment to examine force used in crisis incidents, the use of less lethal devices, and

 9   force used in the crowd management context. The Monitor and the OIG also will collaborate to

10   develop a workplan detailing OIG’s approach for ensuring continued robust, independent

11   monitoring of SPD, so it will be well-positioned once federal oversight ends.

12          In addressing crowd management, the City will update its crowd management policy to

13   incorporate ongoing community feedback, and it will ensure SPD officers are appropriately

14   trained on any updates. In the months following the protests, SPD substantially revised its crowd

15   management policies to implement new strategies for crowd de-escalation and crowd

16   management. Since then, SPD has been receiving ongoing feedback on its policies through the

17   community-led process convened by the OIG. Under the Compliance Agreement, SPD will

18   respond to these policy recommendations.

19          SPD will also develop an alternative reporting and review process specific to crowd

20   management situations to address breakdowns in reporting and review of use of force incidents

21   that occurred in 2020. These breakdowns were self-identified by SPD and recognized in the

22   Monitor’s May 2022 Comprehensive Assessment. The City will provide drafts of the crowd

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 1   management policy and reporting/review process to the DOJ and Monitor for review. Following

 2   that review, the crowd management policy will be submitted to the Court for approval.

 3          Finally, the Compliance Agreement provides that the City will continue to ensure that the

 4   reforms instituted by the Consent Decree are sustained throughout its duration. To demonstrate

 5   sustainment, the City must provide updated outcome measures regarding use of force, crisis

 6   intervention, stops and detentions, bias-free policing, and supervision, which will be validated by

 7   the OIG.

 8          In sum, the proposed Compliance Agreement focuses on outstanding issues related to

 9   crowd management and accountability. By centering the Parties’ and Monitor’s efforts on the

10   areas where work remains to be done, the Compliance Agreement will help to achieve and

11   sustain intended outcomes under the Consent Decree. See Consent Decree ¶ 175.

12          Accordingly, and for the reasons set forth in the attached memoranda, the Parties

13   respectfully request that this Court enter the proposed Order and Compliance Agreement.

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 1   Respectfully submitted,

 2   DATED this 28th day of March 2023.

 3

 4    For the CITY OF SEATTLE             For the UNITED STATES of AMERICA

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